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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND

 RUBY LEVI and EMILY CHICOINE, on behalf              )
 of themselves and all others similarly situated,     )
                                                      )
                        Plaintiffs,                   )
                                                      )
        v.                                            )       Civ. A. No. 1:15-cv-216-WES-PAS
                                                      )
 GULLIVER’S TAVERN, INCORPORATED,                     )
 and SOLID GOLD PROPERTIES, INC., both                )
 d/b/a THE FOXY LADY                                  )
                                                      )
                        Defendants.                   )

                                              ORDER

 WILLIAM E. SMITH, District Judge.

        Plaintiffs have filed an Assented-To Motion for Preliminary Settlement Approval

 pursuant to Federal Rule of Civil Procedure 23(e) and the Fair Labor Standards Act, 29 U.S.C. §

 216(b) (the “Motion”). In the Motion, Plaintiffs request an order preliminarily approving the

 settlement of the above-captioned action on a class and collective action basis in accordance with

 the parties’ settlement agreement (the “Agreement”), which sets forth the terms and conditions

 for a proposed settlement of this matter and its dismissal with prejudice.

        Having reviewed the Motion, the Agreement, the Parties’ proposed notice and claim form

 (the “Notice”), and all other materials and authorities submitted by the Parties, the Court hereby

 FINDS and ORDERS that:

        1.      The terms defined in the Agreement are hereby incorporated by reference. All

 capitalized terms shall have the same meaning as those used in the Agreement, unless otherwise

 specified.
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        2.      This Court has jurisdiction over the subject matter of the Action and all Parties in

 this proceeding, including the administration of the Parties’ proposed settlement and all members

 of the Settlement Class.

        3.      All Settlement Class members shall have the right to exclude themselves from the

 settlement by way of the opt-out procedure set forth in the Agreement. All Settlement Class

 Members shall also have the right to object to the settlement by way of the objection procedure

 set forth in the Agreement.

        4.      This Court finds that the Agreement is fair, reasonable, and adequate, and within

 the range of possible approval, subject to further consideration at a final fairness hearing as set

 forth below. Accordingly, the Court grants preliminary approval of the settlement.

        5.      This Court authorizes Plaintiffs and Plaintiffs’ Counsel to enter into the

 Agreement on behalf of the Settlement Class, subject to final approval by this Court. Plaintiffs

 and Plaintiffs’ Counsel are hereby authorized to take all appropriate action required or permitted

 to be taken by the Class pursuant to the Agreement to effectuate its terms.

        6.      This Court finds that the Notice satisfies the requirements of due process, the

 Federal Rules of Civil Procedure, and constitutes the best notice practicable under the

 circumstances. The Court approves the form and content of the Notice and authorizes the Parties

 to issue Notice in the manner set forth in the Agreement.

        7.      The final fairness and approval hearing shall take place before the Honorable

 William E. Smith on January 18, 2022, at 9:00 a.m.1 Unless otherwise ordered, that hearing

 shall be conducted by remote videoconference means. At that hearing, the Court shall

 determine whether the proposed settlement of the Action on the terms provided for in the


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